Case 2:21-cv-05467-CJC-PVC Document16 Filed 10/28/21 Page1lof1 Page ID#:64

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. 2:21-CV-05467-CJC-PVC Date October 28, 2021

 

 

Title Juan Valencia v. Josefina Cuevas, et al

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

 

Dajanae Carrigan for Rolls Royce None Reported
Paschal
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
VOLUNTARY DISMISSAL

The Court, having been advised by the Plaintiff that this action has been resolved by a
Notice of Voluntary Dismissal [15], hereby orders this action dismissed with prejudice. The
Court hereby orders all proceedings in the case vacated and taken off calendar.

 

Initials of Deputy Clerk —_ rrp/dca

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page of 1
